

ORDER

PER CURIAM.
AND NOW, this 23rd day of June, 2006, a Rule having been entered by this Court on April 25, 2006, pursuant to Rule 214(d)(1), Pa.R.D.E., directing Carol S. Stever to show cause why she should not be placed on temporary suspension and, upon consideration of the responses filed, it is hereby
ORDERED that the Rule is made absolute; Carol S. Stever is placed on temporary suspension pursuant to Rule 214(d)(2), Pa.R.D.E., and she shall comply with all the provisions of Rule 217, Pa. R.D.E.; and the matter is referred to the Disciplinary Board pursuant to Rule 214(f)(1), Pa.R.D.E.
